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Via ECF electronic delivery only

SEPTEMBER 05, 2024

RESHMA KAMATH, CAL. BAR NO. 333800,
COUNSEL, PLAINTIFFS JAMES JENKINS, JR. AND JAMES JENKINS, III
LAW OFFICE OF RESHMA KAMATH
700 El Camino Real Suite 120, #1084,
Menlo Park, CA 94025 Phone: 650 257 0719 |
E-mail: reshmakamath2021@gmail.com |

             RE: RACIST HOLCOMB’S DELUSION IN HIS RACIST ORDER IN NOT
PROVIDING NOTICE TO AFRICAN-AMERICAN MALE PLAINTIFFS, JAMES
JENKINS, JR. AND JAMES JENKINS III.

       Holcomb:

       Your racism is NOW OBSTRUCTING substantive NOTICE to PLAINTIFFS.
Coincidentally, both plaintiffs are AFRICAN-AMERICAN MALE PLAINTIFFS.

     Your racist order directs White Attorney (NOT RETAINED BY EITHER
PLAINTIFFS) to give NOTICE of the ruling.

      Think for a minute: how do you think VOGEL can NOTIFY JAMES JENKINS, JR.
and JAMES JENKINS III with NOTICE when VOGEL HAS NO CONTACT WITH EITHER
PLAINTIFF.

       Moreover, try to think AGAIN for a minute: WITHOUT NOTICE to AFRICAN-
AMERICAN PLAINTIFFS, how do you think this case will move forward meritoriously. It
won’t. You will dismiss this case as I can see it.

       You racists don’t think. You only think what you’re doing is right.

       VOGEL HAS NO CONTACT/NO COMMUNICATION WITH PLAINTIFFS.

       PLAINTIFFS NEVER RETAINED VOGEL.



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     VOGEL HAS NO CONTACT INFORMATION FOR EITHER PLAINTIFF
BECAUSE HE WAS NEVER AN ATTORNEY THAT THEY RETAINED. VOGEL IS YOUR
RACIST PRODUCT ON THE DOCKET.

     I, WILL NEVER PROVIDE CONFIDENTIAL PRIVILEGED INFORMATION OF
MY CLIENTS, WHATEVER RACE, ETHNIC BACKGROUND AND COLOR THEY’RE TO
ANYONE.
     PARTICULARLY, NOT WHEN YOU RACIST HOLCOMB, DISMISSED ME AS
ATTORNEY-OF-RECORD. I HAVE NO OBLIGATION TO YOUR ORDERS, AND/OR TO
YOU.

     WHITE, MALE ATTORNEY, VOGEL is happily celebrating as is the other WHITE
MALE ATTORNEY, GARNER.

     WHEN AND IF I BECOME JUDGE IN AMERICA, I’LL BE LOCKING UP A LOT
OF WHITE CRIMINALS IN JAIL/PRISON. AND SOME INDIAN MALE CRIMINALS.

    EVEN IF SUSPENSION, DISBARRMENT OR SOME MILD DISCIPLINARY
PROBATION, I’LL REVIVE AND BE BACK.

      LAUGH NOW ALL YOU WANT – GUESS WHO’LL BE LAUGHING IN THE END.

     FOR NOW, LET’S SEE HOW YOU PROVIDE NOTICE TO PLAINTIFFS. MAYBE
ASK THE DEFENDANT SHARON JIMENEZ THAT YOUR RACIST STAFF ALSO
MISPELLED HER LAST NAME ON THE DOCKET AS “JIMINEZ”.




     RACISM KNOWS NO BOUNDS IN YOUR COURT – SUBSTANTIVELY AND NON-
SUBSTANTIVELY.

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       I declare under the penalty of perjury that the foregoing statements are true and correct

under the laws of the United States of America and the State of California.



Sincerely,




RESHMA KAMATH,

Lead Counsel for Plaintiffs JAMES JENKINS JR. and JAMES JENKINS III.




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